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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

JACQUELINE IRELAND,                                    §
                                                       §
        Plaintiff,                                     §
                                                       §
v.                                                     §      NO. 4:18-cv-208
                                                       §
AMERICAN AIRLINES, INC &                               §
AMERICAN AIRLINES GROUP, INC.                          §
                                                       §
                                                       §
        Defendants.                                    §


PLAINTIFF JACQUELINE IRELAND’S ORIGINAL COMPLAINT & JURY DEMAND



                                                    INTRODUCTION

        Jacqueline Ireland (hereinafter “Jackie Ireland,” “Ms. Ireland,” or “Plaintiff”), brings this

Complaint against Defendants American Airlines, Inc. and American Airlines Group, Inc.

(collectively “American Airlines” or “Defendant”) to recover for the Defendant’s unlawful

harassment, hostile work environment, retaliation against Ms. Ireland in violation of the Americans

with Disabilities Act and Title VII of the Civil Rights Act of 1964, as amended.

        In support of her Complaint before this Honorable Court, Ms. Ireland would show as

follows:

                                   I.        JURISDICTION AND VENUE

        1.       Jurisdiction over Ms. Ireland’s federal claim is proper in the Northern District of

Texas under 28 U.S.C. § 1331 because there is a federal question about whether AT&T violated

USERRA.




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        2.       Venue is appropriate in the Northern District of Texas under 28 U.S.C. § 1391

because American Airlines’s principle office is in the Northern District of Texas, and the events

that gave rise to this Suit accrued in the Northern District of Texas.



                                               II.   PARTIES

        3.       Plaintiff Ms. Ireland, at all relevant times, was and is an American citizen of the

United States, a resident of the Northern District of Texas, and is over the age of eighteen (18)

years. Jackie Ireland may be served through his attorneys of record, Joshua Graham & Associates,

PLLC at 100 E 15th Street, Suite 635, Fort Worth, Texas 76102.

        4.       Defendant American Airlines Group, Inc. (“AA Parent Company”) is a company

within the meaning of the Americans with Disabilities Act and the Title VII of the Civil Rights

Act in that it is a person, institution, organization, or other entity to whom the employer has

delegated the performance of employer-related responsibilities. Defendant American Airlines

Group, Inc. may be served by and through its registered agent, CT Corporation, at 1999 Bryan

Street, Suite 900, Dallas, Texas 75201.

        5.       Defendant American Airlines, Inc. (“American Airlines”) is a company within the

meaning of the Americans with Disabilities Act and Title VII of the Civil Rights Act in that it is a

person, institution, organization, or other entity to whom the employer has delegated the

performance of employer-related responsibilities. Defendant American Airlines, Inc. may be

served by and through its registered agent, CT Corporation, at 1999 Bryan Street, Suite 900, Dallas,

Texas 75201.

        6.       American Airlines Group, Inc. was formed when American Airlines, Inc., and US

Airways merged. For the purposes of this Suit, American Airlines Group, Inc., and American



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Airlines, Inc., are used interchangeably because they are either one in the same company, each

other’s alter-egos, or successors in interest.



                              III.         NOTICE OF DATA RETENTION

        7.       Plaintiff attaches hereto as Exhibit A, and incorporates by reference for all

purposes, an anti-spoliation letter directed to Defendant American Airlines, Inc.



                                               IV.    FACTS

               JACKIE IRELAND’S EMPLOYMENT WITH AMERICAN AIRLINES

        8.       Ms. Ireland was employed by American Airlines as an aircraft mechanic for

approximately 22 years.

        9.       American Airlines hired Ms. Ireland on January 22, 1996.

        10.      Ms. Ireland was female.

        11.      American Airlines hires predominately male aircraft mechanics.

        12.      The overwhelming majority of American Airlines’s mechanics are male.

        13.      Ms. Ireland’s work performance was satisfactory.



                               CO-WORKERS HARASS JACKIE IRELAND

        14.      Ms. Ireland’s co-workers made sexually-oriented jokes in Ms. Ireland’s presence.

        15.      Ms. Ireland’s co-workers made sexually-oriented gestures in Ms. Ireland’s

presence.

        16.      Ms. Ireland’s co-workers grabbed their crotch and used their fingers to simulate an

erection in Ms. Ireland’s presence.

        17.      Ms. Ireland complained to American Airlines.

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        18.      Ms. Ireland, like many other aircraft mechanics, stored her lunches in a refrigerator

shared with other employees.

        19.      After Ms. Ireland complained to American Airlines about her co-workers’

harassment, she noticed a strange taste in her food. Ms. Ireland suspected that someone tampered

with her food and water bottle causing her to suffer from severe diarrhea. Ms. Ireland reported

this to American Airlines.

        20.      Ms. Ireland stored her lunch and water bottle in her personal vehicle and the

diarrhea subsided.

        21.      Ms. Ireland again stored her lunch and water bottle in the common refrigerator.

Again, Ms. Ireland noticed a strange taste in her food and suffered from severe diarrhea. Ms.

Ireland reported to American Airlines that she suspected that her co-workers, the same co-workers

that she complained about sexually harassing her, tampered with her food.

              AMERICAN AIRLINES’S DISCRIMINATION AGAINST MS. IRELAND

        22.      Rather than take Ms. Ireland’s reports of sexual harassment and retaliation

seriously, American Airlines referred Ms. Ireland to the company’s Employee Assistance

Program.

        23.      On July 24, 2017, American Airlines placed Ms. Ireland on sick leave.

        24.      After American Airlines refused to take Ms. Ireland’s complaints seriously, she

filed a police report, documenting her suspicions that her co-workers had tampered with her food.

        25.      Rather than consider that perhaps Ms. Ireland’s complaints were not frivolous,

American Airlines responded to Ms. Ireland’s police report by sending Ms. Ireland to a psychiatrist

for an evaluation.

        26.      American Airlines provided the psychiatrist with information that was intended to

create bias so that the psychiatrist would find that Ms. Ireland was not fit for duty.

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        27.      American Airlines’s psychiatrist did not have a reasonable basis to form his opinion

that Ms. Ireland was not fit for duty.

        28.      But for American Airlines’s influence, the psychiatrist would not have formed an

opinion that Ms. Ireland was not fit for duty.

        29.      Ms. Ireland was later evaluated and determined that she was misdiagnosed.

        30.      There is no reason why Ms. Ireland should not be allowed to return to work.

        31.      American Airlines has not allowed Ms. Ireland to return to work.

                              JACKIE IRELAND’S PROTECTED ACTIVITY

        32.      Ms. Ireland engaged in protected activity when she complained to American

Airlines that her co-workers engaged in sexually-oriented conversations.

        33.      Ms. Ireland engaged in protected activity when she complained to American

Airlines that her co-workers engaged in sexually-oriented hand gestures.

        34.      Ms. Ireland engaged in protected activity when she complained to American

Airlines that she suspected her co-workers tampered with her food and water.

        35.      Ms. Ireland engaged in protected activity when she filed a police report

complaining of her co-worker’s harassment.

              AMERICAN AIRLINES’S RETALIATION AGAINST JACKIE IRELAND

        36.      American Airlines retaliated against Jackie Ireland by referring her to the Employee

Assistance Program, implying that she was crazy.

        37.      American Airlines retaliated against Jackie Ireland by removing her from duty.

        38.      American Airlines retaliated against Jackie Ireland by referring her to a psychiatrist,

implying that she was crazy.

        39.      American Airlines retaliated against Jackie Ireland by engaging in victim blaming.

        40.      American Airlines retaliated against Jackie Ireland by engaging in victim shaming.

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                              V.          ADMINISTRATIVE BACKGROUND


         41.        Plaintiff Jackie Ireland timely dual-filed a complaint with the Equal Employment

Opportunity Commission (“EEOC”) alleging violations of the anti-discrimination and anti-

retaliation provisions of Title VII as well as discrimination based on disability. Ms. Jackie Ireland

received a Notice of Right-to-Sue letter dated, December 12, 2017, on or about December 17, 2017.

Ms. Ireland’s Charge of Discrimination and Right-to-Sue Letter are attached hereto as Exhibit B

and Exhibit C respectively.

         42.        Ms. Ireland timely brings this suit within 90 days after receiving final disposition

of her claim from the EEOC. Ms. Ireland alleges herein that she was sexually harassed and

discriminated against because of both her sex (Female) and disability when she was denied

employment opportunities with American Airlines in violation of Title VII and the Americans with

Disabilities Act.

         43.        Ms. Ireland alleges herein that American Airlines retaliated against her in violation

of the Title VII.

         44.        Ms. Ireland alleges herein that American Airlines discriminated against her in

violation of the Americans with Disabilities Act.



                                               CAUSES OF ACTION


       VI.           JACKIE IRELAND’S REQUEST FOR DECLARATORY JUDGEMENT

         45.        Jackie Ireland realleges and incorporates herein the allegations contained in each

 and every preceding paragraph as if fully stated herein.




 PLAINTIFF JACQUELINE IRELAND’S ORIGINAL COMPLAINT                                            PAGE 6 OF 14
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        46.      Jackie Ireland requests that this Court, after hearing testimony and evidence,

declare that Jackie Ireland is fit for duty and ordering American Airlines to immediately reinstate

her to work.

     VII.          JACKIE IRELAND’S FIRST CAUSE OF ACTION: DISCRIMINATION
                                  BASED ON SEX

        47.      Jackie Ireland realleges and incorporates herein the allegations contained in each

and every preceding paragraph as if fully stated herein.

        48.      Ms. Ireland was at all relevant times an employee covered by the Civil Rights Act

of 1964, as amended.

        49.      American Airlines was at all relevant times an employer within the meaning of the

Civil Rights Act of 1964, as amended.

        50.      Ms. Ireland was a member of a protected class in that she was female.

        51.      American Airlines unlawfully discriminated against Ms. Ireland based on her sex

when it failed to properly admonish and discipline Ms. Ireland’s male co-workers for engaging in

sexual harassment.

        52.      American Airlines unlawfully discriminated against Ms. Ireland based on her sex

when it failed to take Ms. Ireland’s complaints seriously because “boys will boys.”

        53.      American Airlines unlawfully discriminated against Ms. Ireland when it

admonished Ms. Ireland for choosing a man’s job.

        54.      American Airlines unlawfully discriminated against Ms. Ireland when it failed to

provide Ms. Ireland a workplace free from sexual harassment.

        55.      American Airlines unlawfully discriminated against Ms. Ireland when it placed her

on leave rather than addressing her complaints of unlawful harassment.




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        56.      American Airlines unlawfully discriminated against Ms. Ireland when it treated her

less favorably than similarly situated male employees.

        57.      American Airlines caused Ms. Ireland to suffer harm.



         VIII.          JACKIE IRELAND’S SECOND CAUSE OF ACTION: SEXUAL
                                    HARASSMENT

        58.      Jackie Ireland realleges and incorporates herein the allegations contained in each

and every preceding paragraph as if fully stated herein.

        59.      Ms. Ireland was at all relevant times an employee covered by the Civil Rights Act

of 1964, as amended.

        60.      American Airlines was at all relevant times an employer within the meaning of the

Civil Rights Act of 1964, as amended.

        61.      Ms. Ireland was a member of a protected class in that she was female.

        62.      American Airlines engaged in unlawful sexual harassment against Ms. Ireland

when it failed to properly admonish and discipline Ms. Ireland’s male co-workers for engaging in

sexual harassment.

        63.      American Airlines engaged in unlawful sexual harassment against Ms. Ireland

when it failed to take Ms. Ireland’s complaints seriously because “boys will boys.”

        64.      American Airlines engaged in unlawful sexual harassment when it ratified its

employee’s behavior by failing to take corrective action to protect Ms. Ireland from unlawful

sexual harassment.

        65.      American Airlines unlawfully discriminated against Ms. Ireland when it placed her

on leave rather than addressing her complaints of unlawful sexual harassment.

        66.      American Airlines caused Ms. Ireland to suffer harm.


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       IX.         JACKIE IRELAND’S THIRD CAUSE OF ACTION: HOSTILE WORK
                                  ENVIRONMENT

        67.      Jackie Ireland realleges and incorporates herein the allegations contained in each

and every preceding paragraph as if fully stated herein.

        68.      Ms. Ireland was at all relevant times an employee covered by the Civil Rights Act

of 1964, as amended.

        69.      American Airlines was at all relevant times an employer within the meaning of the

Civil Rights Act of 1964, as amended.

        70.      Ms. Ireland was a member of a protected class in that she was female.

        71.      American Airlines created a hostile work environment when it failed to properly

admonish and discipline Ms. Ireland’s male co-workers for engaging in sexual harassment.

        72.      American Airlines created a hostile work environment when it failed to take Ms.

Ireland’s complaints seriously because “boys will boys.”

        73.      American Airlines created a hostile work environment when it admonished Ms.

Ireland for choosing a man’s job.

        74.      American Airlines created a hostile work environment when it failed to provide

Ms. Ireland a workplace free from sexual harassment.

        75.      American Airlines created a hostile work environment when it placed Ms. Ireland

on leave rather than addressing her complaints of unlawful harassment.

        76.      American Airlines caused Ms. Ireland to suffer harm.


        X.         JACKIE IRELAND’S FOURTH CAUSE OF ACTION: RETALIATION

        77.      Jackie Ireland realleges and incorporates herein the allegations contained in each

and every preceding paragraph as if fully stated herein.


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        78.      Ms. Ireland was at all relevant times an employee covered by the Civil Rights Act

of 1964, as amended.

        79.      American Airlines was at all relevant times an employer within the meaning of the

Civil Rights Act of 1964, as amended.

        80.      Ms. Ireland was a member of a protected class in that she was female.

        81.      Ms. Ireland engaged in protected activity when she complained to American

Airlines about what she perceived to be sexual harassment.

        82.      Ms. Ireland engaged in protected activity when she complained to American

Airlines about what she perceived to be discrimination based on her sex.

        83.      Ms. Ireland engaged in protected activity when she complained to American

Airlines about what she perceived to be employees tampering with her food and drink as a means

to unlawfully harass Ms. Ireland.

        84.      Ms. Ireland engaged in protected activity when she complained to law enforcement

about what she perceived to be employees tampering with her food and drink as a means to

unlawfully harass Ms. Ireland.

        85.      American Airlines knew about Ms. Ireland’s protected activity.

        86.      American Airlines took adverse employment action against Ms. Ireland by placing

her on sick leave.

        87.      American Airlines took adverse employment action against Ms. Ireland by sending

her to see a psychiatrist.

        88.      American Airlines took adverse employment action against Ms. Ireland by

providing the psychiatrist information about Ms. Ireland with the intent to bias the psychiatrist

against Ms. Ireland.



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        89.      The proximity between the time that Ms. Ireland engaged in protected activity and

when American Airlines took adverse employment action against Ms. Ireland creates a nexus

between the two events.

        90.      Ms. Ireland’s protected activity was a contributing factor in the adverse action that

American Airlines took against Ms. Ireland.

        91.       American Airlines caused Ms. Ireland to suffer harm.


        XI.  JACKIE IRELAND’S FIFTH CAUSE OF ACTION: FAILURE TO
       ACCOMMODATE UNDER THE AMERICAN’S WITH DISABILITIES ACT


        92.      Jackie Ireland realleges and incorporates herein the allegations contained in each

and every preceding paragraph as if fully stated herein.

        93.      Ms. Ireland was at all relevant times an employee covered by the Americans with

Disabilities Act.

        94.      American Airlines was at all relevant times an employer within the meaning of the

Americans with Disabilities Act.

        95.      American Airlines had a duty to offer Ms. Ireland a reasonable accommodation.

        96.      American Airlines had a duty to provide Ms. Ireland a reasonable accommodation.

        97.      American Airlines knew or should have known that Ms. Ireland required a

reasonable accommodation.

        98.      With minimal effort, American Airlines could have reasonably accommodated Ms.

Ireland.

        99.      American Airlines breached its duty to offer Ms. Ireland with a reasonable

accommodation.




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        100.     American Airlines breached its duty to offer Ms. Ireland with a reasonable

accommodation.

        101.     American Airlines unlawfully discriminated against Ms. Ireland because of her

disability.

        102.     American Airlines caused Ms. Ireland to suffer harm.

        103.     But for American Airlines’s failure to offer Ms. Ireland a reasonable

accommodation, Ms. Ireland would not have suffered damages or would have suffered less

damages than she did.

        104.     But for American Airlines’s failure to provide Ms. Ireland a reasonable

accommodation, Ms. Ireland would not have suffered damages or would have suffered less

damages than she did.

                                            XII.    DAMAGES

        105.     Ms. Ireland realleges and incorporates herein the allegations contained in each and

every preceding paragraph as if fully stated herein.

        106.     Due to American Airlines’s actions, including but not limited to Plaintiff’s ultimate

constructive termination, Jackie Ireland suffered, and continue to suffer, damages including but

not limited to lost wages, both past and future, the value of fringe benefits, emotional pain,

suffering, inconvenience, mental anguish, and loss of enjoyment of life.

        107.     American Airline’s actions reference in each and every preceding paragraph were

willful, entitling Rhonda Bannister to liquidated damages under the Americans with Disabilities

Act.

        108.     American Airlines’s actions reference in each and every preceding paragraph were

intentional, malicious, and committed with reckless indifference to Jackie Ireland’s federally-

protected rights, entitling Jackie Ireland to compensatory and punitive damages.

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        109.     Americans Airlines’s actions referenced in each and every preceding paragraph

caused Jackie Ireland to retain the services of attorneys Joshua Graham & Associates, PLLC in

order to pursue her federal rights in this action. Jackie Ireland seeks reasonable attorneys’ fees

and costs in this Matter.



                                  XIII.             REQUEST FOR RELIEF

        WHEREFORE, Plaintiff Jackie Ireland respectfully requests that Defendant American

Airlines be cited to appear and answer, and that after a trial by jury, Plaintiff Jackie Ireland take

judgment against American Airlines as follows:

        a. Judgment against American Airlines for a sum within the jurisdictional limits of this

             Court;

        b. Economic damages including back pay;

        c. Reinstatement if reinstatement is deemed feasible. If reinstatement is not deemed

             feasible, economic damages including front pay;

        d. Compensatory damages;

        e. Consequential damages

        f. Actual damages including out-of-pocket losses incurred by Plaintiff Jackie Ireland;

        g. Pre-judgment interest in the maximum amount allowed by law;

        h. Post-judgment interest in the maximum amount allowed by law;

        i. Reasonable and necessary attorneys’ fees;

        j. Costs of suit;

        k. Appellate attorneys’ fees; and

        l. Such other and further relief to which Plaintiff may be entitled.



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                                                    JURY DEMAND
        Plaintiff exercises his right to a trial by jury and tenders the appropriate fee with this

Complaint.


                                                     Respectfully Submitted,

                                                     By: ____________________________
                                                     Joshua Graham & Associates, PLLC
                                                     100 E. 15th Street, Suite 635
                                                     Fort Worth, Texas 76102
                                                     Phone: 817-789-4000
                                                     Fax: 817-789-4001

                                                     Joshua Stewart Graham
                                                     Bar No. 24080736
                                                     jsg@joshuagraham.com


                                                     ATTORNEYS FOR JACKIE IRELAND




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                                                                                        Water Gardens Place
                                                                                100 E. 15th Street, Suite 635
JOSHUA GRAHAM                                                                      Fort Worth, Texas 76102
                                                                                          Tel (817) 789-4000
jsg@joshuagraham.com                                                                     Fax (817) 789-4001
                                                                                   www.joshuagraham.com




March 13, 2018

Via U.S. Mail
U




American Airlines Group, Inc.
American Airlines, Inc.
c/o CT Corporation
1999 Bryan Street, Suite 900
Dallas, Texas 75201

Re: Anti-Spoliation – Jacqueline Ireland

Dear CT Corporation, on behalf of American Airlines Group Inc. and American Airlines Inc.,

            In anticipation of litigation, this anti-spoliation applies to you and each and every
    entity that you own or are affiliated with, its employees, officers, directors, members,
    partners, assignees, designees, affiliates, subsidiaries, investors, and/or representative agents
    thereof, or any other entities for which you or American Airlines Group Inc. or American
    Airlines Inc. have access to the computer system or computer network (Collectively “you” or
    “your”).

            Our client, Jacqueline Ireland, considers documentary evidence and electronic data to be
    valuable sources of discovery and/or evidence in this matter. You should be aware that there is
    a prohibition against the intentional or negligent destruction of evidence. “Evidence spoliation
    is a serious problem that can have a devastating effect on the administration of justice.”
    Trevino v. Ortega, 969 S.W.2d 950, 954 (Tex. 1998) (Baker, J., concurring).

            The laws and rules prohibiting destruction of evidence apply to electronic data with
    the same force as they apply to other types of evidence. Because electronic evidence is
    particularly susceptible to spoliation, we demand that you make the following computers (the
    “Subject Computers”) available to an expert designated by our Client:

           1. All laptop computers owned or used by you or assigned to you, which may
              contain any data, communications, or fragments of data about you, your
              financials, contracts, employment data, meeting minutes, memoranda,
              information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
              Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
              Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,


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              Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
              Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
              Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
              that any of the preceding parties own or are affiliated with, its employees,
              officers, directors, members, partners, assignees, designees, affiliates,
              subsidiaries, investors, and/or representative agents thereof; and

         2. All desktop computers owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
            Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
            Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
            Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
            that any of the preceding parties own or are affiliated with, its employees,
            officers, directors, members, partners, assignees, designees, affiliates,
            subsidiaries, investors, and/or representative agents thereof; and

         3. All tablet computers owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
            Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
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            Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
            that any of the preceding parties own or are affiliated with, its employees,
            officers, directors, members, partners, assignees, designees, affiliates,
            subsidiaries, investors, and/or representative agents thereof; and

         4. All cellular telephones owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
            Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
            Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
            Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
            that any of the preceding parties own or are affiliated with, its employees,
            officers, directors, members, partners, assignees, designees, affiliates,
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         5. All terminals telephones owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
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            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
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            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
            Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
            Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
            that any of the preceding parties own or are affiliated with, its employees,
            officers, directors, members, partners, assignees, designees, affiliates,
            subsidiaries, investors, and/or representative agents thereof; and

         6. All laptop computers owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
            Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
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            officers, directors, members, partners, assignees, designees, affiliates,
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            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
            Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
            Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
            Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
            that any of the preceding parties own or are affiliated with, its employees,
            officers, directors, members, partners, assignees, designees, affiliates,
            subsidiaries, investors, and/or representative agents thereof; and

         8. All tablet computers owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,



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              Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
              Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
              Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
              Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
              that any of the preceding parties own or are affiliated with, its employees,
              officers, directors, members, partners, assignees, designees, affiliates,
              subsidiaries, investors, and/or representative agents thereof; and


         9. All cellular telephones owned or used by you or assigned to you, which may
            contain any data, communications, or fragments of data about you, your
            financials, contracts, employment data, meeting minutes, memoranda,
            information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
            Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
            Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,
            Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
            Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
            Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
            that any of the preceding parties own or are affiliated with, its employees,
            officers, directors, members, partners, assignees, designees, affiliates,
            subsidiaries, investors, and/or representative agents thereof; and


         10. All terminals owned or used by you or assigned to you that were and are
             permitted to connect to any internal local area network, external network, wide-
             area network, or virtual private network, electronic mail server, voice mail
             system, or any other electronic means which may contain any data,
             communications, or fragments of data about you, your financials, contracts,
             employment data, information about Jonathan McGee, co-signer, auto loan,
             Digital Federal Credit Union, Navy Federal Credit Union, Pentagon Federal
             Credit Union, and any entities that any of the preceding parties own or are
             affiliated with, its employees, officers, directors, members, partners, assignees,
             designees, affiliates, subsidiaries, investors, and/or representative agents
             thereof; and all file servers, print servers, mail servers, lightweight directory
             access servers, web servers, real-time communication servers, file transfer
             protocol (FTP) servers, collaboration servers, list servers, telnet servers, virtual
             servers, backup servers, voicemail servers, application servers, customer
             relationship management servers, human capital management servers, financial
             capital management servers, mobile platform servers, skip trace servers, proxy
             servers, virtual private networking servers, owned or used by you which may
             contain any data, communications, or fragments of data about you, your
             financials, contracts, employment data, meeting minutes, memoranda,
             information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth
             Cadle, Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden,
             Brian Nickelsen, Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa,



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              Kim Smith, Ryan Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson,
              Shawn Murphy, Matthew Baytos, James Wagnor, Jared Windisch, Mark J.
              Blotcky, American Airlines Group Inc., American Airlines Inc., and any entities
              that any of the preceding parties own or are affiliated with, its employees,
              officers, directors, members, partners, assignees, designees, affiliates,
              subsidiaries, investors, and/or representative agents thereof.




         Our expert will inspect and make an image of the Subject Computers’ storage media
 in order to preserve critical evidence. Pending that inspection, we demand that you take steps
 to preserve that evidence as follows:

 1.      Electronic Data To Be Preserved

         The following types of electronic data and/or the electronic data should be
         preserved in accordance with the steps set out in ¶¶ 2-8 below:

                  a.       all electronic mail and information about electronic mail (including
                           message contents, header information and logs of electronic mail
                           systems usage) sent or received by anyone;

                  b.       all other electronic mail and information about electronic mail
                           (including message contents, header information arid logs of electronic
                           mail system usage);

                  c.       all data bases (including all records and field structural information
                           in such databases);

                  d.       all logs of activity on any computer system which may have been used
                           to process or store electronic data;

                  e.       all word processing files and file fragments;

                  f.       with regard to electronic data created by application programs which
                           process financial, accounting and billing information, all electronic
                           data files and file fragments;

                  g.       all files and file fragments containing information from electronic
                           calendars and scheduling programs;

                  h.       all electronic data files and file fragments created or used by electronic


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                           spreadsheet programs;

                  i.       all short message service messages (text messages), multimedia
                           messaging service (digital photographs and digital video);

                  j.       all digital photographs and related print productions of digital
                           photographs;

                  k.       all digital video;

                  l.       all audio recording;

                  m.       all metadata;

                  n.       all global positioning system, geographic location service, or any other
                           system or containing longitude and latitude coordinates;

                  o.       all travel data including, but not limited to, travel booked on common
                           carriers, flight plans, and any other travel data stored in any system;

                  p.       all documents about you, your financials, contracts, employment data,
                           meeting minutes, memoranda, information about Jacqueline Ireland,
                           Jackie Ireland, Jeremy Yubeta, Elizabeth Cadle, Karen Gillen, Mike
                           Davenport, Michael Davenport, Bruce Broaden, Brian Nickelsen, Laura
                           Kobe, Debbie Jones, Linda Constantine, Laura Hippa, Kim Smith, Ryan
                           Baniaga, Daryl Wright, Andrew Johnson, Andy Johnson, Shawn Murphy,
                           Matthew Baytos, James Wagnor, Jared Windisch, Mark J. Blotcky,
                           American Airlines Group Inc., American Airlines Inc., and any entities
                           that any of the preceding parties own or are affiliated with, its employees,
                           officers, directors, members, partners, assignees, designees, affiliates,
                           subsidiaries, investors, and/or representative agents thereof; and

                  q.        all other electronic data.


 2.      Specific actions that must be taken:

         Pending inspection of the Subject Computers and in order to preserve the integrity of
         the data we demand that you:

                  a.       disable all maintenance programs;

                  b.       disable all “scheduled tasks”;

                  c.       disable all system automatic update functions, including but not limited
                           to electronic “wiping” programs, electronic removal programs, and


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                           electronic cleaning programs; and

                  d.       disable all virus scanner program automatic update functions.


 3.      Specific actions that must not be taken:

         Pending inspection of the Subject Computers and in order to preserve the integrity of
         the data, we demand that you not:

                  a.       delete any files, emails, logs, or other data;

                  b.       perform any system maintenance;

                  c.       perform any “defragmentation” activities;

                  d.       perform any disk clean-up activities, including but not limited
                           to “scandisk”;

                  e.       add or remove any software or software patches including,
                           without limitation, the operating system itself; and

                  f.       dispose of any of the Subject Computers or any components thereof; and

                  g.       refrain from accessing any target system owned or possessed by
                           any individual named in this letter.


 4.      Off-Line Data Storage, Backups, and Archives, Floppy Diskettes, Zip Drives,
         and Zip Files, Tapes, Compact Diskettes, Hand Held Devices, Disconnected or
         External Hard Drives, Cellphones, Blackberrys, Flash Cards, Thumbs Drives, and
         other Removable Electronic Media:

         Regarding all electronic media used for off-line storage, including magnetic tapes and
         cartridges and other media, which contain any electronic information meeting the criteria
         listed above, stop any activity which may result in the loss of such electronic data,
         including rotation, destruction, overwriting, and/or erasure of such media in whole or
         in part. This request is intended to cover all removable electronic media used for
         data storage which may contain any data, communications, or fragments of data about
         you, your financials, contracts, employment data, meeting minutes, memoranda,
         information about Jacqueline Ireland, Jackie Ireland, Jeremy Yubeta, Elizabeth Cadle,
         Karen Gillen, Mike Davenport, Michael Davenport, Bruce Broaden, Brian Nickelsen,
         Laura Kobe, Debbie Jones, Linda Constantine, Laura Hippa, Kim Smith, Ryan Baniaga,
         Daryl Wright, Andrew Johnson, Andy Johnson, Shawn Murphy, Matthew Baytos, James
         Wagnor, Jared Windisch, Mark J. Blotcky, American Airlines Group Inc., American


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         Airlines Inc., and any entities that any of the preceding parties own or are affiliated with,
         its employees, officers, directors, members, partners, assignees, designees, affiliates,
         subsidiaries, investors, and/or representative agents thereof.

         This paragraph includes any off-schedule, unofficial, ad hoc, and unplanned backups or
         images taken during the process of adding servicers or computers, moving servers or
         computers, changing servers or computers, and upgrading servers or computers.

 5.      Replacement of Data Storage Devices:

         Do not dispose of any electronic data storage devices and/or media, which may be
         replaced due to failure and/or for other reasons that may contain electronic data meeting
         the criteria listed above.

 6.      Fixed Drives on Stand-Alone Personal Computers and Network Workstations

         Regarding electronic data meeting the criteria listed above, which existed on fixed drivers
         attached to stand-alone microcomputers and/or network workstations at the time of
         this letter’s delivery: do not alter or erase electronic data and do not perform other
         procedures (such as data compression and disk re-fragmentation or optimization routines)
         which may impact such data, unless a true and correct copy has been made of such arrive
         files and of completely restored versions of such deleted electronic files and file
         fragments. In addition, copies should be made of all directory listings (including hidden
         files) for all directories and subdirectories containing such files, and arrangements should
         be made to preserve such copies.

         For the purpose of our demand, the same applies to any virtual computer, workstation,
         thin client, or server.

 7.      Programs and Utilities

         Preserve copies of all application programs and utilities that may be used to process
         electronic data covered by this letter.

 8.      Cellular Telephones & Tablet Devices

         Preserve copies of all backups, encryption keys, and any other data that has been stored
         online, offline, or on the actual device.

 9.      Log of System Modifications:

         Maintain an activity log to document modifications made to any electronic data
         processing system that may affect any system’s capability to process any electronic
         data meeting the criteria listed above, regardless of whether such modifications were
         made by employees, contractors, vendors and/or any other third parties.



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         This letter and any information contained herein are without prejudice to our client’s
 rights and remedies available at law or in equity, all of which are expressly reserved.



                                               Respectfully,



                                               Joshua Graham




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                                                   ∫EXHIBIT B
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                                                                 EXHIBIT C
